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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

In Re: PHARMACEUTICAL INDUSTRY  ; MDLNO. 1456
AVERAGE WHOLESALE PRICE
LITIGATION . Master File No. 01-CV-12257-PBS

THIS DOCUMENT RELATES TO Judge Patti B. Saris

ALL CLASS ACTIONS

CONSOLIDATED MEMORANDUM IN SUPPORT OF
DEFENDANTS’ MOTION TO DISMISS THE AMENDED
MASTER CONSOLIDATED CLASS ACTION COMPLAINT

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Defying the Court’s efforts to narrow the case and to eliminate unfounded, improperly
pleaded claims, the Amended Master Consolidated Complaint (““AMCC”) substantially expands
the scope of this already sweeping litigation by including an array of new claims involving
hundreds of new drugs. In effect, plaintiffs have launched the broadest possible attack on
virtually the entire pharmaceutical industry in an attempt to challenge the manner in which
prescription drugs are priced in this country.

The focus of this attack is once again the term “average wholesale price” (“AWP”) —a
pricing benchmark, according to plaintiffs, “from which hundreds of drug prices are derived in
transactions throughout the pharmaceutical distribution chain.” AMCC 5. The claims asserted
in the AMCC now extend far beyond the realm of Medicare Part B to practically the entire
marketplace for prescription drugs. Plaintiffs bring their claims on behalf of a class of
individuals and entities who paid for any portion of the purchase price of a prescription drug
where that price was based in any way on AWP. AMCC § 595. In fact, this case primarily
involves private institutional end-payors that paid for prescription drugs at some (perhaps
substantial) discount off AWP through privately negotiated arm’s-length transactions with
intermediaries such as pharmacy benefit managers (“PBMs”). This dramatic shift in focus is
reflected by the identity of the named plaintiffs: no individual Medicare Part B participant is
named as a plaintiff in the AMCC.

Plaintiffs continue to contend that by reporting to third-party publishers AWPs that were
not equal to providers’ or intermediaries’ average acquisition costs, defendants have violated the
federal racketeering statute and the consumer fraud statutes of eleven states. In addition, they
assert for the first time that defendants engaged in a multitude of civil conspiracies. These

claims fail for several reasons.
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First, despite clear instructions by the Court that they must plead their allegations of fraud
with the particularity required by Rule 9(b), plaintiffs fail to do so. There are no specific
allegations in the AMCC supporting plaintiffs’ PBM claims. Moreover, although plaintiffs now
attempt to catalog the specific drugs they contend are at issue in this case, along with the
published AWPs for most -- but not all — of these drugs from 1997 to 2002, they still do not
explain how these published AWPs are “fraudulent.” Instead, in most cases they simply allege
that there is a difference between the published AWP and the prices paid by providers and
PBMs. Despite the fact that plaintiffs themselves are third-party payors, they do not even allege
what they paid — much less whether they paid the published AWPs or anything close to them. In
addition, the AMCC still fails to allege purchasers for certain of the drugs that plaintiffs contend
are included in the case.

Second, plaintiffs again fail to allege a viable RICO claim. In the hope of finding an
enterprise that might withstand the Court’s scrutiny, plaintiffs engage in a pleading game that
results in 154 mini-enterprises, all of which fail as a matter of law. Plaintiffs also fail to allege
that defendants conducted the affairs of the purported enterprises, and the AMCC includes no
allegations showing that plaintiffs’ injuries were proximately caused by defendants.
Accordingly, the RICO claims must again be dismissed.

Third, plaintiffs’ civil conspiracy claims must be dismissed because plaintiffs have failed
to allege facts supporting such a conspiracy under Massachusetts law. Fourth, plaintiffs’ state
law consumer fraud claims must be dismissed because, among other things, the AMCC fails to

allege adequately proximate cause. Finally, plaintiffs’ renewed claims relating to multiple-
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source drugs must be dismissed for the same reasons that the Court dismissed the same claims as
alleged in the MCC — these claims simply do not fit the paradigm described in the complaint.

STATEMENT OF THE CASE

A. The Court’s May 13, 2003 Memorandum and Order

On May 13, 2003, this Court granted in part, and denied in part, defendants’ motion to
dismiss the MCC. See In re Pharm. Indus. Average Wholesale Price Litig., 263 F. Supp. 2d 172
(D. Mass. 2003) (hereinafter “A WP Litigation”). The Court dismissed plaintiffs’ claims under
RICO because plaintiffs had failed to allege a single viable RICO enterprise. Id at 181-86.
Because the defects in plaintiffs’ enterprise allegations alone were fatal to plaintiffs’ RICO
claims, the Court did not reach defendants’ arguments that the RICO claims should be dismissed
because plaintiffs had failed to allege fraud or causation. Jd. at 181 n.9. The Court also
dismissed the association plaintiffs with respect to all claims for lack of standing. Id. at 194.

In addition, the Court dismissed a number of the claims alleged in the MCC for failure to
satisfy the pleading standards for fraud set forth in Rule 9(b). In particular, the Court expressly
ruled that any amended complaint must identify, for each defendant: “(1) the specific drug or
drugs that were purchased from the defendant, (2) the allegedly fraudulent AWP for each drug,
and (3) the name of the specific plaintiff(s) that purchased the drug.” Jd at 194, The Court also
ruled, infer alia, that plaintiffs’ claims relating to multiple-source (including generic) drugs were
dismissed, reasoning that such drugs “do not fit the paradigm described in the complaint.” /d. at

194 & n 11,
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B. Amended Master Consolidated Class Action Complaint

The AMCC is brought by eleven plaintiffs, including five ERISA-qualified employee
benefit plans, a voluntary employee benefit plan, and five associations. AMCC 9 26-36. In
contrast to the MCC, no individuals are included as named plaintiffs in the AMCC. The named
plaintiffs purport to represent “consumers, self-insured employers, health and welfare funds,
health insurers and other end payors for prescription drugs.” AMCC § 1.

Plaintiffs allege that defendants have engaged in a pattern of fraudulent conduct by
“artificially inflating the AWPs for their drugs,” which defendants allegedly knew were used not
only by Medicare but also by “virtually all end payors” as the basis for prescription drug
reimbursement. AMCC 4 134, 137-38, 140. While plaintiffs allege that, in the Medicare
context, reimbursement for covered drugs is based on AWP by law, AMCC 4 145, they allege
that, for private payors, reimbursement is set by contracts between health plans and PBMs that
typically use AWP “less a certain percentage ‘discount,’ AMCC § 169.

Plaintiffs assert that defendants inflated the AWPs for their drugs so they could market
the resulting “spread” between the published AWPs and actual acquisition costs for their
products to providers and intermediaries, such as PBMs, in an effort to increase their respective
sales and market shares. AMCC 9§ 4-6. Asa result of this alleged conduct, defendants
purportedly “directly caused Plaintiffs and the members of the Class to substantially overpay”
for prescription drugs. AMCC § 140. Plaintiffs’ overpayment allegedly occurred in two
contexts: (1) for drugs covered by Medicare Part B, and (2) for other drugs where reimbursement
is based in some parton AWP. AMCC 4 141, 144, 148. Plaintiffs purport to capture this

universe of drugs, referred to as AWPIDs, in their Appendix A, which catalogs over 300
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different drugs and a combined total of over 1,500 different dosages of those drugs. Appendix A
also simply recites the published AWPs for most — but not all — of these drugs and dosages, from
1997 through 2002.

Plaintiffs seek to represent all persons or entities that paid any portion of the purchase
price of any drug manufactured by a defendant and identified in Appendix A at a price calculated
by reference to the drug’s published AWP (the “AWP Payor Class”), as well as a sub-class of the
AWP Payor Class consisting of “[a]ll Third-Party Payors that... contracted with a PBM to
provide to [their] participants a prescription drug manufactured by a Defendant Drug
Manufacturer and identified in Appendix A [to the AMCC]” (the “Third-Party Payor Class”),
regardless of the prices actually paid by these third-party payors. AMCC 4595. Appendix B
identifies each plaintiff that allegedly purchased certain of the drugs identified in Appendix A.
No purchasers are identified for approximately one-third of the drugs listed in Appendix A.

Plaintiffs seek to recover under RICO (Counts I and II), and allege over 150 association-
in-fact enterprises.' These enterprises include 66 bilateral associations-in-fact involving each of
22 defendant drug manufacturers and each publisher of pharmaceutical pricing compendia, see
AMCC 4 624, 628, as well as an even greater number of bilateral associations-in-fact involving
each of 22 defendant drug manufacturers and each of the four major PBMs, see id. 9% 651, 661.
These enterprises are, in essence, merely subparts of the Publisher and PBM enterprises that this

Court previously found were not viable enterprises.

' Defendant Novartis Pharmaceuticals Corporation (“Novartis”) is not named as a defendant in Counts I
and II (RICO) or Count TX (civil conspiracy). Accordingly, any reference to “defendant” or “defendants” with
respect to those Counts does not include Novartis.
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Plaintiffs also seek to recover under the consumer protection statutes of eleven states
(Count IV). In addition, they seek a declaratory judgment that “setting stated reimbursement
prices above the actual average wholesale price for AWPIDs is unlawful, and that each
Defendant Drug Manufacturer does so in violation of applicable law” (Count III). AMCC 4 681.
Finally, plaintiffs allege that each of 22 defendants engaged in separate civil conspiracies with
each of the four major PBMs in violation of state consumer protection laws, common law fraud,
Medicare anti-fraud kickback statutes, and mail and wire fraud statutes (Count IX). Plaintiffs’
remaining claims are alleged against the Together Rx Card defendants (Counts V-VIII, X).”

ARGUMENT

I. PLAINTIFFS’ ATTEMPT TO EXPAND THIS CASE TO COVER HUNDREDS
OF DRUGS FAILS TO SATISFY THE REQUIREMENTS OF RULE 9(B).

Rule 9(b)’s command to particularize fraud applies to each of plaintiffs’ claims — whether
under RICO or state consumer statutes or civil conspiracy laws — as they all sound in fraud. See
Feinstein v. Resolution Trust Corp., 942 F.2d 34, 42 (1* Cir. 1991) (RICO); Hayduk v. Lanna,
775 F.2d 441, 443-44 (1* Cir. 1985) (state law fraud claims alleged in federal court, including
conspiracy claims, must satisfy Rule 9(b)). Moreover, in its May 13, 2003 Order, the Court held
that plaintiffs would be required in the AMCC to comply with Rule 9(b). See AWP Litigation,
263 F. Supp. 2d at 194; see also Oral Arg. Tr. at 74. Indeed, the Court’s order specifically stated

that any amendment must allege “(1) the specific drug or drugs that were purchased from

* Plaintiffs’ claims relating to the Together Rx Card are addressed in the separate memorandum of law
filed by the Together Rx Card defendants.
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defendant; (2) the allegedly fraudulent AWP for each drug, and (3) the name of specific
plaintiff(s) that purchased the drug.”? AWP Litigation, 263 F. Supp. 2d at 194,

Rather than heed the Court’s admonition, plaintiffs have proffered a hefty complaint that
substitutes bulk for substance and rote conclusory allegations for specific facts. In fact, plaintiffs
seek to expand substantially the scope of this already sweeping litigation to cover hundreds of
new drugs. Yet, they have not “particularize[d] exactly what the fraud is” or alleged a
“fraudulent AWP” for the vast majority of the drugs named in the AMCC. This failure requires
dismissal of all claims in the AMCC relating to these drugs.

A. The PBM Allegations Are Plainly Deficient.

In less than three pages of the 301-page AMCC, plaintiffs seek to widen this case “well
beyond Medicare Part B,” AMCC 168, to include “the drug benefits of 210 million people in
the United States, or 70 percent of the nation’s population.” AMCC § 170. Under plaintiffs’
PBM theory, which involves hundreds of drugs outside of Medicare Part B: (1) the plaintiff
benefit plans contract with PBMs so that their participants can obtain prescription drugs from
retail pharmacies or via mail order directly from the PBM, AMCC § 169; (2) the contracts that
benefit plans typically negotiate with PBMs price drugs at a discount off A WP, id.; (3)
defendants inflate the AWPs for their products so that they can market the spread between
acquisition cost and AWP in order to “help manipulate the PBMs’ profits from Plaintiffs and the

classes,” AMCC § 172; and (4) defendants benefit from this scheme “by increasing the sales of

* See also Tr. of Oral Argument at 74 (Jan, 13, 2003) (“We're going to go drug by drug, if we go anywhere,
because | can’t be the supervisor of the entire pharmaceutical industry. You've got to meet 9(b) requirements.
You’ve got to particularize exactly what drugs, exactly what the fraud is, which plaintiffs paid for what drugs.”).

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